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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 THE CHAMBERLAIN GROUP LLC, §

                Plaintiff, §
 v § CIVIL ACTION NO. 2:21-CV-00084-JRG

 OVERHEAD DOOR CORPORATION, GMI §
 HOLDINGS INC., §

                Defendants. §



                                       VERDICT FORM

         In answering the following questions and completing this Verdict Form, you are to

  follow all the instructions that I have given you in the Court s Final Jury Instructions. Your

  answers to each question must be unanimous. Some of the questions contain legal terms that are

  defined and explained in detail in the Final Jury Instructions. You should refer to and consider

  the Final Jury Instructions as you answer the questions in this Verdict Form.
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         As used herein, the following terms have the following meanings:



       Plaintiff or Chamberlai refers to The Chamberlain Group LLC

       Defendants refers collectively to Overhead Door Corporation and GMI
      Holdings Inc.

     The “ 404 Patent refers to U.S. Patent No. 8,587,404.

     The Patent-in-Suit refers to the 404 Patent.

     The “Asserted Claims refers collectively to Claims 4 and 20 of the ’404
     Patent.




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           IT IS VERY IMPORTANT THAT YOU FOLLOW THE
          INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




         READ THEM CAREFULLY AND ENSURE THAT YOUR
                VERDICT COMPLIES WITH THEM




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 QUESTION NO. 1

Did Chamberlain, the Plaintiff, prove by a preponderance of the evidence that
Defendants infringed the Asserted Claims of the 404 Patent?



        Claim 4                              Yes: X           No:


        Claim 20                             Yes:             No:




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 QUESTION NO. 2a

 Did Defendants prove by clear and convincing evidence that ANY of the Asserted
 Claims are invalid due to improper inventorship?


                                             Yes:         No: X,


 If you answered YES to Question No. 2a, then DO NOT answer Question
 No. 2b.


 QUESTION NO. 2b

 Did Defendants prove by clear and convincing evidence that any of the following
 Asserted Claims are invalid as obvious?


           Claim 4 of the         404 Patent: Yes:              No:


           Claim 20 of the 404 Patent: Yes: No:                        .




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 If you answered NO to ALL Asserted Claims in Questio No. 1, OR YES
 to Question No. 2a, OR “YES” to ALL Asserted Claims in Question No. 2b, then
 DO NOT answer Question No. 3.


 Answer Question No. 3 ONLY as to any Asserted Claim that you have found
 BOTH to be infringed AND not invalid.



 QUESTION NO. 3

 Did Chamberlain, the Plaintiff, prove by a preponderance of the evidence that
 Defendants willfully infringed ANY of the Asserted Claims that you found were
 infringed?

        Yes:         No: X




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 If you answered NO to ALL Asserted Claims in Question No. 1, OR YES
 to Question No. 2a, OR YES” to ALL Asserted Claims in Question No. 2b, then
 DO NOT ans er Question Nos. 4a, 4b, and 4c.


 Answer Question Nos. 4a, 4b, and 4c ONLY as to any Asserted Claim that you
 haye found BOTH to be infringed by Overhead Door s products AND not
 invalid.



 QUESTION NO, 4a

 What sum of money, if paid now in cash, has Chamberlain, the Plaintiff, proven by
 a preponderance of the evidence would compensate it for its damages for
 infi ingement, from May 9, 2017 through March 31, 2022, for the sale of Overhead
 Door s products?



     Answer in United States Dollars and Cents, if any:




 $
        US, 4 m i Iho




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 QUESTION NO. 4b


 If you awarded any amount of money in Question No. 4a, what amount of that sum,

 if any, represents a reasonable royalty?




     Answer in United States Dollars and Cents, if any:




 $
                    mili

 QUESTION NO. 4c


 If you awarded any amount of money in Question No. 4b, is it a lump sum or a

 running royalty? [Choose only one]:


          Lump Sum


      X Running Royalty




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                FINAL PAGE OF THE JURY VERDICT FORM

 You have now reached the end of the Verdict Fmm and should review it to ensure it

 accurately reflects your unanimous determinations. The Jury Foreperson should then

 sign and date the Verdict Fmm in the spaces below. Once this is done, notify the

 Court Security Officer that you have reached a verdict. The Jury Foreperson should

 keep the Verdict Fmm and bring it when the jury is brought back into the courtroom.



   Signed this�'day of January 2023.




                                         Jury Foreperson




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